
123 Ga. App. 828 (1971)
182 S.E.2d 489
FORD
v.
THE STATE.
45816.
Court of Appeals of Georgia.
Submitted May 3, 1971.
Decided May 7, 1971.
Rehearing Denied May 26, 1971.
William Holley, for appellant.
Ben F. Smith, District Attorney, George W. Darden, for appellee.
PER CURIAM.
The defendant after his conviction for voluntary manslaughter moved for a new trial on the general grounds and later amended the motion wherein he added three other grounds. The amended motion was overruled. Defendant appealed to this court from the judgment of conviction and sentence. The defendant has not enumerated as error the overruling of the amended motion for new trial. The enumerated errors are the same grounds contained in the amended motion. The enumerated errors are without merit because the denial of the amended motion for new trial, unappealed, fixed as the law of the case all issues embraced in the motion. Hill v. Willis, 224 Ga. 263, 268 (161 SE2d 281); Bryan v. State, 224 Ga. 389, 390 (162 SE2d 349); Tiller v. State, 224 Ga. 645 (164 SE2d 137).
Judgment affirmed. Bell, C. J., Pannell and Deen, JJ., concur.
